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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                            Chapter 11

    MASTEN SPACE SYSTEMS, INC.,                       Case No. 22-10657 (BLS)

                            Debtor.1                  D.I. 38


  ORDER APPROVING DEBTOR’S MOTION FOR AN ORDER APPROVING (I)(A)
 THE DEBTOR’S ENTRY INTO STALKING HORSE AGREEMENT AND RELATED
 BID PROTECTIONS; (B) THE BIDDING PROCEDURES IN CONNECTION WITH
THE SALE OF SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS, (C) THE FORM
 AND MANNER OF NOTICE OF THE SALE HEARING AND AUCTION RESULTS,
   AND (D) DATES FOR AN AUCTION AND SALE HEARING, (II) THE SALE OF
 SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS FREE AND CLEAR OF ALL
CLAIMS, LIENS, LIABILITIES, RIGHTS, INTERESTS AND ENCUMBRANCES, AND
                    (III) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtor and debtor in possession

(the “Debtor”) for entry of an order (this “Order”), (a) authorizing the Debtor to enter into and

perform under the asset purchase agreement (the “Stalking Horse Agreement”), between the

Debtor and Astrobotic Technology, Inc. (the “Stalking Horse Bidder”) which has submitted a

Qualified Bid, as defined herein (the “Stalking Horse Bid”), subject to the solicitation of higher

or otherwise better offers for the Assets, (b) approving the Bid Protections granted to the Stalking

Horse Bidder under the Stalking Horse Agreement; (c) approving the bidding procedures attached

hereto as Exhibit 1 (the “Bidding Procedures”) in connection with the sale of the Assets, (d)

approving the form and manner of notice of the Auction and Sale Hearing (the “Sale Notice”),

attached hereto as Exhibit 2; (e) establishing dates and deadlines in connection with the Sale and



1
  The Debtor’s mailing address is 1570 Sabovich St, Mojave, CA 93501The last four digits of the Debtor’s federal
tax identification number is 7098.
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 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion, the
Stalking Horse Agreement, or the Bidding Procedures, as applicable.


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the approval thereof, including the Bid Deadline, the date of the Auction, if any, and the Sale

Hearing, and (f) granting related relief, all as more fully set forth in the Motion; and this Court

having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court may enter a

final order consistent with Article III of the United States Constitution; and this Court having found

that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§

1408 and 1409; and this Court having found that the relief requested in the Motion is in the best

interests of the Debtor’s estate, its creditors, and other parties in interest; and this Court having

found that the Debtor’s notice of the Motion and opportunity for a hearing on the Motion were

appropriate and no other or further notice need be provided; and this Court having reviewed the

Motion and having heard the statements in support of the relief requested therein at a hearing

before this Court (the “Hearing”); and this Court having determined that the legal and factual bases

set forth in the Motion and at the Hearing establish just cause for the relief granted herein; and

upon all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor,

THE COURT HEREBY FINDS THAT:

               A.      Statutory Predicates.    The predicates for the relief granted herein are

sections 105, 363, 365, 503, and 507 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004

and 9014.

               B.      Notice of Motion. The Debtor’s notice of the Motion, the Hearing, and the

proposed entry of this Order was sufficient under the circumstances of this case and complied with

all applicable requirements of the Bankruptcy Code, the Bankruptcy Rules, and the applicable



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Local Rules. Accordingly, no other or further notice of the Motion or the entry of this Order is

necessary or required.

               C.        Bidding Procedures. The Debtor has articulated good and sufficient reasons

for authorizing and approving the Bidding Procedures, which were developed in good faith, are

fair, reasonable, and appropriate under the circumstances, and are designed to maximize the

recovery on, and realizable value of, the Assets, as determined by the Debtor in an exercise of its

business judgment.

               D.        Stalking Horse Agreement. The Debtor and the Stalking Horse Bidder

negotiated the Stalking Horse Agreement at arm’s length and in good faith, without collusion. The

Stalking Horse Agreement represents the highest or otherwise best offer for the Assets that the

Debtor has received to date. Entry of this Order, including authorization for the Debtor to enter

into and perform under the Stalking Horse Agreement (subject to the solicitation of higher or

otherwise better offers) and approval of the break-up fee and expense reimbursement (collectively,

the “Bid Protections”) contemplated thereby, is in the best interests of the Debtor and its estate,

creditors, and all other parties in interest. The Stalking Horse Bidder shall be deemed to be a

Qualified Bidder for all purposes under the Bidding Procedures.

               E.        Right to Credit Bid. Astrobotic Technology, Inc. shall be entitled to credit

bid at the Auction all or any portion of the outstanding obligations owed by the Debtor to

Astrobotic in connection with that certain Superpriority Senior Secured Debtor-in-Possession

Term Credit Facility dated August 10, 2022, in accordance with section 363(k) of the Bankruptcy

Code, and nothing herein or in the Sale Procedures shall prejudice or impair such credit bid rights.

For the avoidance of doubt, every dollar of a credit bid shall be treated the same as a dollar from a

cash bid. Notwithstanding the foregoing, nothing herein shall affect or impair the right of the

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Committee or the U.S. Trustee to seek to disqualify from the auction any bidder based upon

conduct at or prior to the auction.

               F.      Stalking Horse Bidder Bid Protections. Subject to the terms of the Stalking

Horse Agreement and this Order, if the Stalking Horse Bidder is not the Successful Bidder, it shall

receive a break-up fee equal to 3% of the cash portion of the Stalking Horse Bid (including any

credit bid) and an expense reimbursement of up to 2% of the cash portion of the Stalking Horse

Bid (including any credit bid).

               G.      Bid Protections. The Bid Protections, as set forth in the Stalking Horse

Agreement, are: (1) commensurate to the real and substantial benefits conferred upon the Debtor’s

estate by the Stalking Horse Bidder; (2) reasonable and appropriate in light of the circumstances

of this Chapter 11 Case, the size and nature of the proposed sale contemplated by the Stalking

Horse Agreement, the commitments that have been made by the Stalking Horse Bidder, and the

efforts that have been and will be expended by the Stalking Horse Bidder; and (3) necessary to

induce the Stalking Horse Bidder to continue to pursue such sale and continue to be bound by the

Stalking Horse Agreement.

               Moreover, the Bid Protections are an essential inducement to, and condition of, as

applicable, the Stalking Horse Bidder’s entry into, and continuing obligations under, the Stalking

Horse Agreement. Unless it is assured that the Bid Protections will be available, the Stalking Horse

Bidder is unwilling to be bound under the Stalking Horse Agreement (including the obligation to

maintain its committed offer in accordance with the terms of the Stalking Horse Agreement while

such offer is subject to higher or otherwise better bids as contemplated by the Bidding Procedures).

The Bid Protections induced the Stalking Horse Bidder to submit a bid that will serve as a

minimum or floor bid for the Assets on which the Debtor, its estate, its creditors, and other bidders

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can rely. The Stalking Horse Bidder has provided a material benefit to the Debtor and its creditors

by providing a baseline value, increasing the likelihood of competitive bidding at the Auction, and

facilitating participation of other bidders in the sale process, thereby increasing the likelihood that

the value of the Assets will be maximized through the Debtor’s proposed sale process.

                Accordingly, the Bid Protections are (i) fair, reasonable and appropriate and

designed to maximize value for the benefit of the Debtor’s estate; and (ii) actual and necessary

costs and expenses of preserving the Debtor’s estate within the meanings of section 503(b) and

507(a) of the Bankruptcy Code.

                The Stalking Horse Bidder and its counsel and advisors have acted in “good faith”

within the meaning of section 363(m) of the Bankruptcy Code in connection with the Stalking

Horse Bidder’s negotiation of the Stalking Horse Agreement and the Bidding Procedures, subject

to (1) compliance with the Bidding Procedures and (2) entry of the Sale Order.

                H.     Sale Notice.    The Sale Notice is reasonably calculated to provide all

interested parties with timely and proper notice of the proposed Sale, including: (i) the date, time,

and place of the Auction (if one is held); (ii) the Bidding Procedures and certain dates and deadlines

related thereto; (iii) the objection deadline for the Sale and the date, time, and place of the Sale

Hearing; (iv) reasonably specific identification of the Assets for sale; (v) instructions for promptly

obtaining a copy of the Stalking Horse Agreement; (vi) representations describing the Sale as being

free and clear of liens, claims, interests, and other encumbrances, with all such liens, claims,

interests, and other encumbrances attaching with the same validity and priority to the sale proceeds

subject to customary exceptions for permitted liens, and no other or further notice of the Sale shall

be required.



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                 I.       Auction. The Auction, if held, is necessary to determine whether any

Qualified Bidders other than the Stalking Horse Bidder are willing to enter into one or more

definitive asset purchase agreements on terms and conditions more favorable to the Debtor and its

estate than the Stalking Horse Agreement.

                 J.       Other Findings. The findings and conclusions set forth herein constitute the

Court’s findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable

to this proceeding pursuant to Bankruptcy Rule 9014. To the extent that any of the preceding

findings of fact constitute conclusions of law, they are adopted as such. To the extent any of the

preceding conclusions of law constitute findings of fact, they are adopted as such.

IT IS HEREBY ORDERED THAT:

        1.       The Motion is granted to the extent set forth in this Order.

        2.       All objections to the relief requested in the Motion that have not been withdrawn,

waived, or settled prior to or at the Hearing are overruled.

        I.       Important Dates and Deadlines.

                 (i)      Bid Deadline: September 2, 2022 at 4:00 p.m. (prevailing Eastern Time),3
                          as the deadline by which all Qualified Bids must be actually received
                          pursuant to the Bidding Procedures (the “Bid Deadline”).

                 (ii)     Sale Objection Deadlines:

                          a. September 6, 2022 at 9:00 a.m. (the “Sale Objection Deadline”), as the
                             deadline for all objections other than to (i) the conduct of the Auction,
                             or (ii) the choice of Successful Bidder(s) and/or Back-Up Bidder(s),

                          b. September 7, 2022 at 12:00 p.m. (the “Auction Objection Deadline”)
                             as the deadline to object to (i) the conduct of the Auction, or (ii) the
                             choice of Successful Bidder(s) and/or Back-Up Bidder(s).

                          All objections must (a) be in writing, (b) state, with specificity, the legal
                          and factual bases thereof, and (c) be filed with the Court and served on the

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        All times referenced herein refer to prevailing Eastern Time.
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                       following so as to actually be received by the Sale Objection Deadline or
                       Auction Objection Deadline, as applicable: (i) proposed counsel to the
                       Debtor, Morris James LLP, 500 Delaware Avenue, Suite 1500, Wilmington,
                       DE 19801, Attn: Jeffrey R. Waxman and Brya M. Keilson (jwaxman@
                       morrisjames.com and bkeilson@morrisjames.com); (ii) the Office of the
                       United States Trustee for the District of Delaware, 844 King Street, Suite
                       2207, Lockbox 35, Wilmington, Delaware 19801, Attn: Hannah J.
                       McCollum (hannah.mccollum@usdoj.gov); and (iii) proposed counsel to
                       the Committee, Kilpatrick Townsend & Stockton, LLP 1114 Avenue of the
                       Americas, New York, NY 10036, Attn: David M. Posner and Gianfranco
                       Finizio               (dposner@kilpatricktownsend.com                 and
                       gfinizio@kilpatricktownsend.com) and Cozen O’Connor P.C., 1201 N.
                       Market Street, Suite 1001, Wilmington, DE 19801, Attn: Thomas M. Horan
                       and     Frederick      Schmidt      (Attn:     thoran@cozen.com       and
                       Eschmidt@cozen.com (collectively, the “Notice Parties”).

               (iii)   Auction: September 6, 2022 at 12:00 p.m., as the date and time of the
                       Auction, if one becomes necessary, which will be held at the offices of the
                       proposed counsel for the Debtor, Morris James LLP via Zoom, or such later
                       time as the Debtor will timely notify the Stalking Horse Bidder and all other
                       Qualified Bidders and the official committee of unsecured creditors and
                       their respective professionals.

               (iv)    Reply Deadline: September 7, 2022 at 5:00 p.m., as the deadline for the
                       Debtor to file replies to any objections to the Sale.

               (v)     Sale Hearing: on September 8, 2022 at 9:30 a.m., before the Honorable
                       Brendan L. Shannon, Bankruptcy Judge, United States Bankruptcy Court
                       for the District of Delaware, which shall be held via Zoom pursuant to the
                       Court’s video hearing procedures.

               (vi)    Closing: on or prior to September 9, 2022 at 11:59 p.m.

The dates and deadlines set forth in this Order are subject to modification by the Debtor in

accordance with the Bidding Procedures.

        II.    Stalking Horse Agreement.

        3.     Stalking Horse Agreement. The Debtor is authorized, pursuant to sections 105(a)

and 363(b) of the Bankruptcy Code, to enter into and perform under the Stalking Horse Agreement,

subject to the solicitation of higher or otherwise better offers for the Assets (the “Stalking Horse

Bid”). The Stalking Horse Bidder shall be deemed a Qualified Bidder, and the Stalking Horse Bid

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shall be deemed a Qualified Bid, for all purposes under the Bidding Procedures Order and Bidding

Procedures.

        4.     The Stalking Horse Agreement shall be binding and enforceable on the parties

thereto in accordance with its terms. The failure to describe specifically or include any provision

of the Stalking Horse Agreement or related documents in the Motion or this Order shall not

diminish or impair the effectiveness of such provision. The Stalking Horse Agreement and any

related agreements, documents or other instruments may be modified, amended or supplemented

by the parties thereto, solely in accordance with the terms thereof, provided that any such

amendments are filed with the Court with a redline reflecting any such modifications, amendments,

or supplements.

        5.     If the Stalking Horse Bidder is the Successful Bidder, it shall consummate the sale

set forth in the Stalking Horse Agreement, subject to the terms and conditions therein.

        6.     The Bid Protections, as set forth in this Order, are approved in their entirety. The

Stalking Horse Bidder shall be entitled to receive, and the Debtor shall be obligated to pay, the Bid

Protections (i) upon a sale of all or any portion of the Debtor’s Assets to a Successful Bidder other

than the Stalking Horse Bidder, or (ii) after the Bid Deadline, the cancellation of the Sale by the

Debtor or at the Debtor’s request, whether pursuant to the Debtor’s Fiduciary Out (defined herein)

or otherwise. The obligation of the Debtor to pay the Bid Protections shall survive the termination

of the Stalking Horse Agreement, dismissal or conversion of the Bankruptcy Case, and

confirmation of any plan of reorganization or liquidation.

        7.     The Debtor and Stalking Horse Bidder are granted all rights and remedies provided

to them under the Stalking Horse Agreement, including, without limitation, the right to specifically



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enforce the Stalking Horse Agreement (including with respect to the Bid Protections) in

accordance with its terms.

           8.      For the avoidance of doubt and notwithstanding anything to the contrary contained

in this Order, this Order does not approve the sale of the Assets under the Stalking Horse

Agreement or authorize the consummation of the Sale. Such approval and authorization (if any)

shall be considered only at the Sale Hearing and the rights of all parties in interest to object to such

approval and authorization are reserved.

           III.    Auction, Bidding Procedures, Sale Notice, and Related Relief.

           9.      The Bidding Procedures, substantially in the form attached hereto as Exhibit 1, are

incorporated herein and are hereby approved in their entirety, and the Bidding Procedures shall

govern the submission, receipt, and analysis of all Bids relating to any proposed Sale. Any party

desiring to submit a Bid shall comply with the Bidding Procedures and this Order. The Debtor is

authorized to take any and all reasonable actions necessary to implement the Bidding Procedures.

           10.     The Sale Notice, substantially in the form attached hereto as Exhibit 2, is hereby

approved. As soon as reasonably practicable following the entry of this Order, the Debtor will

cause the Bidding Procedures and Sale Notice to be filed with the Court and served upon the Notice

Parties.

           IV.     Back-Up Bidder(s).

           11.     Following entry of the Sale Order, if the Successful Bidder fails to consummate the

Successful Bid, the Debtor may, after consultation with the Official Committee of Unsecured

Creditors and its professionals (the “Consultation Parties”), designate one or more Back-Up Bids

to be the new Successful Bid, and the Debtor may, after consultation with the Consultation Parties,

determine the Back-Up Bidder(s) to be the new Successful Bidder. The Debtor will be authorized,

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but not required, to consummate the transaction with the Back-Up Bidder(s) without further order

of the Bankruptcy Court, so long as such Back-Up Bid shall have been approved in connection

with the Court’s approval of the Successful Bid, or subject to Court approval if not previously

approved. In such case of a breach or failure to perform on the part of the Successful Bidder and

in such other circumstances as may be specified in the definitive documentation governing the

Successful Bid, the defaulting Successful Bidder’s deposit shall be forfeited to the Debtor. The

Debtor’s right to seek all available damages, including specific performance, from any defaulting

Successful Bidder (including any Back-Up Bidder(s) designated as a Successful Bidder) in

accordance with the terms of the Bidding Procedures are reserved.

        V.     Combined Bids

        12.    In the event that the Debtor receives multiple bids for specific Assets or packages

of specific Assets that, in the aggregate, would be higher or otherwise better than the Stalking

Horse Bid, the Debtor, after consultation with the Consultation Parties, may (i) designate such bids

as Qualified Bids; and (ii) combine the bids to determine the highest and best bid for the Assets.

The right to combine bids shall be strictly limited to the Debtor, after consultation with the

Consultation Parties, and shall not waive any restriction by any bidder against collusion without

the Debtor’s express permission.

        VI.    Designation of Executory Contracts and Leases, Cure Objections, and
               Assumption, Assignment, or Novation of Executory Contracts and Leases

        13.    Cure Notice. The notice, substantially in the form attached hereto as Exhibit 4 (the

“Cure Notice”), of potential assumption and assignment (or novation, as applicable) to either the

Stalking Horse Bidder or other Successful Bidder(s) of certain of the Debtor’s executory contracts

and unexpired leases (collectively, the “Scheduled Contracts”) is hereby approved in its entirety.

The Cure Notice shall identify the Scheduled Contracts and provide the amounts, costs, or
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expenses as of the date of such Cure Notice that the Debtor believes must be paid or actions or

obligations that must be performed or satisfied pursuant to the Bankruptcy Code to effectuate the

assumption by the Debtor and the assignment to the Successful Bidder (or novation, as applicable)

of the Scheduled Contracts (each a “Cure Cost” and, collectively, the “Cure Costs”). No later than

September 2, 2022, the Debtor shall file a copy of the Cure Notice with the Bankruptcy Court and

serve such Cure Notice by first class mail or hand delivery (and electronic mail, if known) on all

non-Debtor parties to executory contracts and leases (each, a “Contract Counterparty”) and their

counsel, if known.

        14.    Cure Deadlines. Contract Counterparties shall have until September 12, 2022 at

4:00 p.m. (the “Cure Deadline”) to object to its listed Cure Cost. Any objection to any Cure Cost

set forth on the Cure Notice, including with respect to adequate assurance of future performance

of the Successful Bidder must: (a) be in writing; (b) state the basis for such objection with

specificity; (c) if it contests any Cure Cost, state with specificity what amounts, costs, or expenses

the Contract Counterparty believes must be paid or actions or obligations must be performed or

satisfied pursuant to the Bankruptcy Code to effectuate the assumption by the Debtor and the

assignment to the Successful Bidder (in all cases with appropriate documentation in support

thereof); (d) comply with the Bankruptcy Rules and the Local Rules; (e) be filed with the Clerk of

the United States Bankruptcy Court for the District of Delaware; and (f) be served upon: (i) counsel

for the Debtor; (ii) counsel for the Committee; (iii) the Successful Bidder(s); and (iv) the Back-Up

Bidder(s). In the event that a Contract Counterparty fails to timely object to proposed Cure Costs,

such Cure Costs shall be deemed to be finally determined and any such Contract Counterparty

shall be prohibited from challenging, objecting to, or denying the validity and finality of the Cure

Costs at any time.

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        15.    Designation of Contract or Leases. The ability to designate executory contracts and

unexpired leases to be assumed and assigned (or novated, if applicable) to the Successful Bidder

is integral to the Debtor’s sales process, and the Successful Bidder’s right to designate Scheduled

Contracts for assumption and assignment (or novation, if applicable) is in the best interests of the

Debtor and its estate, and represents the valid and reasonable exercise of the Debtor’s sound

business judgment, subject to the limitations of Section 365 of the Bankruptcy Code, including

payment of all necessary cure amounts. For the avoidance of doubt, a Successful Bidder is not

required to assume, assign, or novate any Scheduled Contracts, in which case the procedures for

assumption, assignment, or novation of the Scheduled Contracts set forth herein shall not apply to

such Successful Bid, and such contracts and leases shall remain with the Debtor’s estate.

        16.    Assumption and Assignment (or Novation) of Scheduled Contracts. Subject to the

terms herein, satisfaction of the requirements of Section 365 of the Bankruptcy Code, and the terms

of the Successful Bid, the Debtor is hereby authorized, in accordance with sections 105(a) and 365

of the Bankruptcy Code, to assume and assign the Scheduled Contracts to the Successful Purchaser

free and clear of all liens, claims, and encumbrances, and to execute and deliver to the Successful

Purchaser such documents or other instruments as may be reasonably necessary to assign and

transfer the Assumed Contracts and Assumed Leases to the Successful Purchaser as provided in

the Purchase Agreement.

        17.    From the closing of the Sale until October 10, 2022 or such later date as may be

agreed upon by the Debtor, the Successful Bidder, and the Contract Counterparties to any

Scheduled Contract (the “Designation Period”), the Successful Bidder shall have the right to

designate a Scheduled Contract for assumption and assignment to the Successful Bidder by the

Debtor, subject to the limitations of Section 365 of the Bankruptcy Code, including the Successful

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Bidder’s obligation to remit any applicable cure amounts.       Upon receipt of direction from the

Successful Bidder that a Scheduled Contract is to be assumed (or novated), the Debtor, in

consultation with the Committee, shall file a notice with the Court (the “Assumption Notice”).

        18.    If applicable, the Successful Bidder shall be responsible for those projected

obligations totaling $31,315.49 listed on Exhibit 3 hereto in connection with the Scheduled

Contracts, solely to the extent that such obligations first become actually due and payable by the

Debtor (i) during the Designation Period and (i) prior to the Successful Bidder notifying the Debtor

or its counsel that a Scheduled Contract has been removed from the Cure Notice. In addition to

the $31,515.49 in projected obligations listed on Exhibit 3, the Successful Bidder shall be

responsible for a maximum of $4,684.51 in additional obligations under any other Scheduled

Contract solely to the extent that such obligations first become actually due and payable by the

Debtor (i) during the Designation Period and (i) prior to the Successful Bidder notifying the Debtor

or its counsel that a Scheduled Contract has been removed from the Cure Notice. For the avoidance

of doubt, the maximum aggregate cost to the Successful Bidder for all obligations related to the

Scheduled Contracts remaining on the Cure Notice which become due and payable by the Debtor

during the Designation Period shall not exceed $36,000 (the “Expense Cap”). The Expense Cap

shall not apply to those five executory contracts identified as “Non-Capped Contracts” on Exhibit

3, and the Successful Bidder shall be responsible for any obligations under such contracts that first

become actually due and payable by the Debtor (i) during the Designation Period and (i) prior to

the Successful Bidder notifying the Debtor or its counsel that such Non-Capped Contracts have

been removed from the Cure Notice.

        19.    Upon removal of a Scheduled Contract from the Cure Notice by a notice sent to the

Debtor or its counsel by the Successful Bidder (including by email), which notice shall be

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immediately effective, the Debtor shall be responsible for all obligations arising or coming due

under any such Scheduled Contracts removed from the Cure Notice, and the Expense Cap shall be

reduced by the projected obligations listed on Exhibit 3 relating to such Scheduled Contract. For

the avoidance of doubt, upon removal of a Scheduled Contract from the Cure Notice, such contract

or lease shall not be deemed rejected, but rather shall remain with the Debtor’s estate subject to (i)

the terms of this Order and (ii) the Debtor’s right to assume or reject such contract or lease in

accordance with the Bankruptcy Code.

        20.    Adequate Assurance of Future Performance. No later than 5:00 p.m. (ET) on

September 2, 2022, the Stalking Horse Bidder shall provide the Debtor with information regarding

adequate assurance of future performance for Contract Counterparties if the Stalking Horse Bidder

is the assignee of the Scheduled Contracts. All other bidders shall submit with their Bid

information regarding adequate assurance of future performance if such bidder proposes to be

assigned certain Scheduled Contracts (collectively, the “Adequate Assurance Information”). No

later than September 2, 2022, the Debtor shall provide electronic copies of the Adequate Assurance

Information received from the Stalking Horse Bidder and any other bidders to the Contract

Counterparties (and to their counsel if known) listed as to be assigned by a Qualified Bidder.

        21.    The procedures for assumption, assignment, and novation of executory contracts

and unexpired leases, including the Scheduled Contracts, are fair, reasonable, and appropriate, and

comply with the provisions of section 365 of the Bankruptcy Code

        22.    Nothing in this Order shall extend or be deemed to extend the Designation Period

beyond any applicable deadline to assume or reject executory contracts and unexpired leases set

forth in section 365(d)(4) of the Bankruptcy Code. Compliance with the foregoing provisions for

the Cure Notice shall constitute sufficient notice of the Debtor’s potential assumption and

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assignment (or novation) of the Scheduled Contracts to the Successful Bidder, pursuant to section

365 of the Bankruptcy Code and otherwise, and, except as set forth in this Bidding Procedures

Order, no other or further notice of the sale shall be required to be provided by the Debtor.

        23.    United States’ Reservation of Rights. Notwithstanding any provision to the

contrary in the Motion, this Order, the Sale Order, or any implementing sale documents, nothing

shall: (1) authorize the assumption, sale, assignment or other transfer to the Successful Bidder of

any federal (i) grants, (ii) grant funds, (iii) contracts, including but not limited to agreements,

contracts, awards, and task orders between Debtor and the National Aeronautics and Space

Administration, and between the Debtor and the United States Air Force, (iv) property, including

but not limited to, any rights to intellectual property belonging to the United States federal

government, (v) leases, and (vi) other interests of the federal government (collectively, “Federal

Interests”) without compliance by the Debtor and the Successful Bidder with all terms of the

Federal Interests and with all applicable non-bankruptcy law, and except as permitted by Section

365 of the Bankruptcy Code; (2) be interpreted to set cure amounts or to require the government

to novate, approve or otherwise consent to the assumption, sale, assignment or other transfer of

any Federal Interests; (3) waive, alter or otherwise limit the United States’ property rights,

including but not limited to, inventory, patents, intellectual property, licenses, and data; (4) affect

the setoff or recoupment rights of a governmental unit (as defined in 11 U.S.C. § 101(27)); (5)

authorize the assumption, transfer, sale or assignment of any governmental unit’s (a) license, (b)

permit, (c) registration, (d) authorization or (e) approval, or the discontinuation of any obligation

thereunder, without compliance with all applicable legal requirements, obligations and approvals

under non-bankruptcy laws, and except as permitted by Section 365 of the Bankruptcy Code; (6)

release, nullify, preclude or enjoin the enforcement of any police or regulatory liability to a

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governmental unit that any entity would be subject to as the owner or operator of property after

the date of entry of this Order; (7) confer exclusive jurisdiction to the Bankruptcy Court except to

the extent set forth in 28 U.S.C. § 1334 (as limited by any other provisions of the United States

Code); or (8) expand the scope of 11 U.S.C.§ 525.

        VII.    Fiduciary Out

        24.     Nothing in the Bidding Procedures will require the Debtor to take any action, or to

refrain from taking any action to the extent the Debtor determines that refraining from taking such

action or taking such action, as applicable, would be inconsistent with applicable law or its

fiduciary obligations under applicable law.

        VIII. Miscellaneous

        25.     The failure to include or reference a particular provision of the Bidding Procedures

specifically in this Order shall not diminish or impair the effectiveness or enforceability of such a

provision.

        26.     In the event of any inconsistencies between this Order and the Motion, this Order

shall govern in all respects. In the event of any inconsistencies between this Order and the Bidding

Procedures, the Bidding Procedures shall govern in all respects.

        27.     Any substantial contribution claims by any bidder are deemed waived.

        28.     This Order shall be binding on and inure to the benefit of the Debtor and its estate,

including any chapter 7 or chapter 11 trustee or other fiduciary appointed for the estate of the

Debtor.

        29.     This Order shall constitute the findings of fact and conclusions of law.

        30.     To the extent this Order is inconsistent with any prior order or pleading with respect

to the Motion in this case, the terms of this Order shall govern.

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        31.    To the extent any of the deadlines set forth in this Order do not comply with the

Local Rules, such Local Rules are waived and the terms of this Order shall govern.

        32.    Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

        33.    Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

        34.    The Debtor shall serve this Order in accordance with all applicable rules and shall

file a certificate of service evidencing compliance with this requirement.

        35.    The Debtor is authorized to take all reasonable actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

        36.    This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




                                                     BRENDAN L. SHANNON
 Dated: September 1st, 2022
                                                     UNITED STATES BANKRUPTCY JUDGE
 Wilmington, Delaware




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